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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

xX
In re Chapter 11
Nortel Networks Inc., et al.,' Case No. 09-10138 (KG)
Debtors. Jointly Administered
Hearing date: Feb. 5, 2009 at 10:00 a.m. (ET) (requested)
x Objections due: Feb 3, 2009 at 4:00 p.m. (ET) (requested)

NOTICE OF DEBTORS’ SUPPLEMENTAL MOTION FOR ENTRY OF AN ORDER
CLARIFYING RELIEF GRANTED PURSUANT TO SECTIONS 105(A) AND 363(B) OF
THE BANKRUPTCY CODE AUTHORIZING DEBTORS TO HONOR PREPETITION
OBLIGATIONS TO THEIR CUSTOMERS [D.I. 49]

PLEASE TAKE NOTICE that the above-captioned debtors and debtors-in-
possession (collectively, the “Debtors’’) in the above-captioned cases, have today filed and served
the attached Debtors’ Supplemental Motion For Entry Of An Order Clarifying Relief
Granted Pursuant To Sections 105(a) And 363(b) Of The Bankruptcy Code Authorizing
Debtors To Honor Prepetition Obligations To Their Customers [D.I. 49] (the “Motion’).

PLEASE TAKE FURTHER NOTICE that any party wishing to oppose the entry
of an order approving the Motion must file a response or objection (“Objection”) if any, to the
Motion with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824
Market Street, 3rd Floor, Wilmington, Delaware 19801 on or before February 3, 2009 at 4:00
p.m. (Eastern Time) (the “Requested Objection Deadline”).

At the same time, you must serve such Objection on proposed counsel for the
Debtors so as to be received by the Requested Objection Deadline:

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Alteon
WebSystems, Inc. (9769), Alteon WebSystems International, Inc. (5596), Xros, Inc. (4181), Sonoma
Systems (2073), Qtera Corporation (0251), CoreTek, Inc. (5722), Nortel Networks Applications
Management Solutions Inc. (2846), Nortel Networks Optical Components Inc. (3545), Nortel Networks
HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826), Nortel Networks International Inc.
(0358), Northern Telecom International Inc. (6286) and Nortel Networks Cable Solutions Inc. (0567).
Addresses for the Debtors can be found in the Debtors’ petitions, which are available at
http://chapter1 1.epiqsystems.com/nortel.
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PLEASE TAKE FURTHER NOTICE THAT THE DEBTORS PROPOSE TO
HAVE A HEARING ON THE MOTION WILL BE HELD ON FEBRUARY 5, 2009 AT 10:00
A.M., (REQUESTED) BEFORE THE HONORABLE KEVIN GROSS AT THE UNITED
STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET
STREET, 6TH FLOOR, COURTROOM #3, WILMINGTON, DELAWARE 19801. ONLY
PARTIES WHO HAVE FILED A TIMELY OBJECTION WILL BE HEARD AT THE
HEARING.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.

Dated: January 29, 2009 CLEARY GOTTLIEB STEEN & HAMILTON LLP
Wilmington, Delaware
James L. Bromley
Lisa M. Schweitzer
One Liberty Plaza
New York, New York 10006
Telephone: (212) 225-2000
Facsimile: (212) 225-3999

- and -

MORRIS, NICHOLS, ARSHT & TUNNELL LLP

Derek C. Abbott (No. 3376)

Eric D. Schwartz (No. 3134)
Thomas F. Driscoll III (No. 4703)
Ann C. Cordo (No. 4817)

1201 North Market Street

P.O. Box 1347

Wilmington, Delaware 19899-1347
Phone: (302) 658-9200

Facsimile: (302) 658-3989

Proposed Counsel for the Debtors
and Debtors in Possession

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